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 5
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 6    MAL KIM
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      MAL KIM,                                   Case No.:
11
                   Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                               RELIEF AND DAMAGES FOR
            vs.                                  VIOLATION OF:
13
                                                 1. AMERICANS WITH DISABILITIES
14    HOLLYWOOD AUTHENTIC THAI                   ACT, 42 U.S.C. §12131 et seq.;
15    INC.; MILA KORNWASSER, AS                  2. CALIFORNIA’S UNRUH CIVIL
      TRUSTEE OF THE J & M                       RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                               52 et seq.;
      KORNWASSER FAMILY TRUST;
17    DOES 1 to 10,                              3. CALIFORNIA’S DISABLED
                                                 PERSONS ACT, CAL CIV. CODE §54 et
18                 Defendants.                   seq.
19                                               4. CALIFORNIA’S UNFAIR
                                                 COMPETITION ACT, CAL BUS & PROF
20                                               CODE § 17200, et seq.
21                                               5. NEGLIGENCE
22
23
24
25
            Plaintiff MAL KIM (“Plaintiff”) complains of Defendants HOLLYWOOD
26
      AUTHENTIC THAI INC.; MILA KORNWASSER, AS TRUSTEE OF THE J & M
27
28




                                    COMPLAINT FOR DAMAGES - 1
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 1    KORNWASSER FAMILY TRUST; DOES 1 to 10 (“Defendants”) and alleges as
 2    follows:
 3                                  JURISDICTION AND VENUE
 4          1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 5    violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 6          2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 7    arising from the same nucleus of operating facts, are also brought under California law,
 8    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 9    54, 54., 54.3 and 55.
10          3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
11    property which is the subject of this action is located in this district, Los Angeles County,
12    California, and that Plaintiff’s causes of action arose in this district.
13                                              PARTIES
14          4.     Plaintiff is a California resident with a physical disability with substantial
15    limitations in her ability to walk. Plaintiff requires the use of a wheelchair at all times
16    when traveling in public.
17          5.     Defendants are, or were at the time of the incident, the real property owners,
18    business operators, lessors and/or lessees of the real property for HOLLYWOOD THAI
19    (“Business”) located at or 5241 Hollywood Blvd., Los Angeles, California.
20          6.     The true names and capacities, whether individual, corporate, associate or
21    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
22    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
23    Court to amend this Complaint when the true names and capacities have been
24    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
25    fictitiously named Defendants are responsible in some manner, and therefore, liable to
26    Plaintiff for the acts herein alleged.
27          7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
28    times, each of the Defendants was the agent, employee, or alter-ego of each of the other



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 1    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
 2    the things alleged herein was acting with the knowledge and consent of the other
 3    Defendants and within the course and scope of such agency or employment relationship.
 4          8.     Whenever and wherever reference is made in this Complaint to any act or
 5    failure to act by a defendant or Defendants, such allegations and references shall also be
 6    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 7    and severally.
 8                                   FACTUAL ALLEGATIONS
 9          9.     On or about March 11, 2020, Plaintiff went to the Business. The Business is
10    a restaurant business establishment, which is open to the public, is a place of public
11    accommodation and affects commerce through its operation.
12          10.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with her ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business. To the extent
15    of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16    limited to, the following:
17                 a.     Defendant failed to maintain the parking space designated for persons
18                        with disabilities to comply with the federal and state standards.
19                        Defendants failed to paint the ground as required.
20                 b.     Defendant failed to maintain the parking space designated for persons
21                        with disabilities to comply with the federal and state standards.
22                        Defendants failed to provide the access aisles with level surface
23                        slopes.
24                 c.     Defendant failed to maintain the parking space designated for persons
25                        with disabilities to comply with the federal and state standards.
26                        Defendants failed to provide a proper ramp for the persons with
27                        disabilities.
28




                                     COMPLAINT FOR DAMAGES - 3
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 1                 d.     Defendants failed to maintain the parking space designated for
 2                        persons with disabilities to comply with the federal and state
 3                        standards. Defendants failed to mark the space with the International
 4                        Symbol of Accessibility.
 5          11.    These barriers and conditions denied Plaintiff the full and equal access to the
 6    Business. Plaintiff lives about 4 miles away from the Business. Plaintiff wishes to
 7    patronize the Business again as it is conveniently located for Plaintiff. However, Plaintiff
 8    is deterred from visiting the Business because her knowledge of these violations prevents
 9    her from returning until the barriers are removed.
10          12.    Based on the violations, Plaintiff alleges, on information and belief, that
11    there are additional barriers to accessibility at the Business after further site inspection.
12    Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
13    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
14          13.    In addition, Plaintiff alleges, on information and belief, that Defendants
15    knew that particular barriers render the Business inaccessible, violate state and federal
16    law, and interfere with access for the physically disabled.
17          14.    At all relevant times, Defendants had and still have control and dominion
18    over the conditions at this location and had and still have the financial resources to
19    remove these barriers without much difficulty or expenses to make the Business
20    accessible to the physically disabled in compliance with ADDAG and Title 24
21    regulations. Defendants have not removed such barriers and have not modified the
22    Business to conform to accessibility regulations.
23                                    FIRST CAUSE OF ACTION
24        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
25          15.    Plaintiff incorporates by reference each of the allegations in all prior
26    paragraphs in this complaint.
27          16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
28    shall be discriminated against on the basis of disability in the full and equal enjoyment of



                                      COMPLAINT FOR DAMAGES - 4
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 1    the goods, services, facilities, privileges, advantages, or accommodations of any place of
 2    public accommodation by any person who owns, leases, or leases to, or operates a place
 3    of public accommodation. See 42 U.S.C. § 12182(a).
 4          17.    Discrimination, inter alia, includes:
 5                 a.    A failure to make reasonable modification in policies, practices, or
 6                       procedures, when such modifications are necessary to afford such
 7                       goods, services, facilities, privileges, advantages, or accommodations
 8                       to individuals with disabilities, unless the entity can demonstrate that
 9                       making such modifications would fundamentally alter the nature of
10                       such goods, services, facilities, privileges, advantages, or
11                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
12                 b.    A failure to take such steps as may be necessary to ensure that no
13                       individual with a disability is excluded, denied services, segregated or
14                       otherwise treated differently than other individuals because of the
15                       absence of auxiliary aids and services, unless the entity can
16                       demonstrate that taking such steps would fundamentally alter the
17                       nature of the good, service, facility, privilege, advantage, or
18                       accommodation being offered or would result in an undue burden. 42
19                       U.S.C. § 12182(b)(2)(A)(iii).
20                 c.    A failure to remove architectural barriers, and communication barriers
21                       that are structural in nature, in existing facilities, and transportation
22                       barriers in existing vehicles and rail passenger cars used by an
23                       establishment for transporting individuals (not including barriers that
24                       can only be removed through the retrofitting of vehicles or rail
25                       passenger cars by the installation of a hydraulic or other lift), where
26                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
27                 d.    A failure to make alterations in such a manner that, to the maximum
28                       extent feasible, the altered portions of the facility are readily



                                    COMPLAINT FOR DAMAGES - 5
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 1                        accessible to and usable by individuals with disabilities, including
 2                        individuals who use wheelchairs or to ensure that, to the maximum
 3                        extent feasible, the path of travel to the altered area and the
 4                        bathrooms, telephones, and drinking fountains serving the altered
 5                        area, are readily accessible to and usable by individuals with
 6                        disabilities where such alterations to the path or travel or the
 7                        bathrooms, telephones, and drinking fountains serving the altered
 8                        area are not disproportionate to the overall alterations in terms of cost
 9                        and scope. 42 U.S.C. § 12183(a)(2).
10          18.    Where parking spaces are provided, accessible parking spaces shall be
11    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
12    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
13    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
14    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
15    be van parking space. 2010 ADA Standards § 208.2.4.
16          19.    For the parking spaces, access aisles shall be marked with a blue painted
17    borderline around their perimeter. The area within the blue borderlines shall be marked
18    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
19    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
20    be painted on the surface within each access aisle in white letters a minimum of 12 inches
21    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
22    11B-502.3.3.
23          20.    Here, Defendants failed to properly maintain the access aisles as there was
24    no “NO PARKING” or faded blue lines painted on the parking surface.
25          21.    Under the 1991 Standards, parking spaces and access aisles must be level
26    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
27    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
28    shall be part of an accessible route to the building or facility entrance and shall comply



                                    COMPLAINT FOR DAMAGES - 6
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 1    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 2    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 3    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 4    directions. 1991 Standards § 4.6.3.
 5          22.     Here, the access aisles are not level with the parking spaces. Under the 2010
 6    Standards, access aisles shall be at the same level as the parking spaces they serve.
 7    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 8    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 9    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
10    Standards § 502.4. Here, the failure to provide level parking is a violation of the law.
11          23.    The cross slope of ramp surfaces shall be no greater than 1:50. Ramp
12    surfaces shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-
13    offs shall have curbs, walls, railings, or projecting surfaces that prevent people from
14    slipping off the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards §
15    4.8.7. Outdoor ramps and their approaches shall be designed so that water will not
16    accumulate on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces
17    along accessible routes and in accessible rooms and spaces including floors, walks,
18    ramps, stairs, and curb ramps, shall be stable, firm, slip-resistant, and shall comply with
19    4.5. 1991 Standards § 4.5.1.
20          24.    Here, Defendants failed to provide a compliant ramp for the access aisle.
21          25.     The surface of each accessible car and van space shall have surface
22    identification complying with either of the following options: The outline of a profile
23    view of a wheel chair with occupant in white on a blue background a minimum 36” wide
24    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
25    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
26    length of the parking space and its lower side or corner aligned with the end of the
27    parking space length or by outlining or painting the parking space in blue and outlining
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 1    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 2    occupant. See CBC § 11B-502.6.4, et seq.
 3          26.    Here, Defendants failed to paint the International Symbol of Accessibility on
 4    the surface as required.
 5          27.    A public accommodation shall maintain in operable working condition those
 6    features of facilities and equipment that are required to be readily accessible to and usable
 7    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 8    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 9    violation of Plaintiff’s rights under the ADA and its related regulations.
10          28.    The Business has denied and continues to deny full and equal access to
11    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
12    discriminated against due to the lack of accessible facilities, and therefore, seeks
13    injunctive relief to alter facilities to make such facilities readily accessible to and usable
14    by individuals with disabilities.
15                                 SECOND CAUSE OF ACTION
16                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
17          29.    Plaintiff incorporates by reference each of the allegations in all prior
18    paragraphs in this complaint.
19          30.    California Civil Code § 51 states, “All persons within the jurisdiction of this
20    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
21    national origin, disability, medical condition, genetic information, marital status, sexual
22    orientation, citizenship, primary language, or immigration status are entitled to the full
23    and equal accommodations, advantages, facilities, privileges, or services in all business
24    establishments of every kind whatsoever.”
25          31.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
26    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
27    for each and every offense for the actual damages, and any amount that may be
28    determined by a jury, or a court sitting without a jury, up to a maximum of three times the



                                      COMPLAINT FOR DAMAGES - 8
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 1    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 2    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 3    person denied the rights provided in Section 51, 51.5, or 51.6.
 4          32.    California Civil Code § 51(f) specifies, “a violation of the right of any
 5    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 6    shall also constitute a violation of this section.”
 7          33.    The actions and omissions of Defendants alleged herein constitute a denial
 8    of full and equal accommodation, advantages, facilities, privileges, or services by
 9    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
10    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
11    51 and 52.
12          34.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
13    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
14    damages as specified in California Civil Code §55.56(a)-(c).
15                                   THIRD CAUSE OF ACTION
16                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
17          35.    Plaintiff incorporates by reference each of the allegations in all prior
18    paragraphs in this complaint.
19          36.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
20    entitled to full and equal access, as other members of the general public, to
21    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
22    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
23    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
24    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
25    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
26    places of public accommodations, amusement, or resort, and other places in which the
27    general public is invited, subject only to the conditions and limitations established by
28    law, or state or federal regulation, and applicable alike to all persons.



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 1         37.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2   corporation who denies or interferes with admittance to or enjoyment of public facilities
 3   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5   the actual damages, and any amount as may be determined by a jury, or a court sitting
 6   without a jury, up to a maximum of three times the amount of actual damages but in no
 7   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8   determined by the court in addition thereto, suffered by any person denied the rights
 9   provided in Section 54, 54.1, and 54.2.
10         38.    California Civil Code § 54(d) specifies, “a violation of the right of an
11   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12   constitute a violation of this section, and nothing in this section shall be construed to limit
13   the access of any person in violation of that act.
14         39.    The actions and omissions of Defendants alleged herein constitute a denial
15   of full and equal accommodation, advantages, and facilities by physically disabled
16   persons within the meaning of California Civil Code § 54. Defendants have
17   discriminated against Plaintiff in violation of California Civil Code § 54.
18         40.    The violations of the California Disabled Persons Act caused Plaintiff to
19   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20   statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                FOURTH CAUSE OF ACTION
22                                UNFAIR COMPETITION ACT
23         41.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         42.    Defendants have engaged in unfair competition, unfair or fraudulent
26   business practices, and unfair, deceptive, untrue or misleading advertising in violation of
27   the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
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                                   COMPLAINT FOR DAMAGES - 10
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 1          43.    Defendants engage in business practices and policies that create systemic
 2   barriers to full and equal access for people with disability in violation of state and federal
 3   law.
 4          44.    The actions and omissions of Defendants are unfair and injurious to
 5   Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
 6   unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
 7   provided with goods and services provided to other consumers. Plaintiff seeks relief
 8   necessary to prevent Defendants’ continued unfair business practices and policies and
 9   restitution of any month that Defendants acquired by means of such unfair competition,
10   including profits unfairly obtained.
11                                   FIFTH CAUSE OF ACTION
12                                          NEGLIGENCE
13          45.    Plaintiff incorporates by reference each of the allegations in all prior
14   paragraphs in this complaint.
15          46.    Defendants have a general duty and a duty under the ADA, Unruh Civil
16   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
17   to the Plaintiff.
18          47.    Defendants breached their duty of care by violating the provisions of ADA,
19   Unruh Civil Rights Act and California Disabled Persons Act.
20          48.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
21   has suffered damages.
22                                     PRAYER FOR RELIEF
23          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
24   Defendants as follows:
25          1.     For preliminary and permanent injunction directing Defendants to comply
26   with the Americans with Disability Act and the Unruh Civil Rights Act;
27          2.     Award of all appropriate damages, including but not limited to statutory
28   damages, general damages and treble damages in amounts, according to proof;



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 1         3.     Award of all reasonable restitution for Defendants’ unfair competition
 2   practices;
 3         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 4   action;
 5         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 6         6.     Such other and further relief as the Court deems just and proper.
 7                              DEMAND FOR TRIAL BY JURY
 8         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 9   demands a trial by jury on all issues so triable.
10
11   Dated: August 11, 2020                  SO. CAL. EQUAL ACCESS GROUP
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13
14                                           By:   _/s/ Jason J. Kim____________
                                                   Jason J. Kim, Esq.
15                                           Attorneys for Plaintiff
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                                   COMPLAINT FOR DAMAGES - 12
